           Case 1:13-cv-01051-LJO-JLT Document 237 Filed 05/05/16 Page 1 of 2


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 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA
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11   TARA GARLICK, et al.,                            ) Case No.: 1:13-cv-01051 LJO JLT
                                                      )
12                   Plaintiff,                       ) ORDER AFTER NOTICE OF SETTLEMENT
                                                      )
13            v.                                      ) (Doc. 236)
     COUNTY OF KERN, et al.,                          )
14
                                                      )
15                   Defendants.                      )
                                                      )
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17            On May 4, 2016, counsel for M.L.S., C.J.S., C.R.S., and E.Z.S., minors, through their guardian
18   ad litem, Judy Silva, Merri Silva and Chris Silva notified the Court that “the parties have reached a
19   settlement in this case. (Doc. 236) Though counsel for Ms. Garlick and J.S. have not filed separate
20   notices of settlement, the Court is assured the matter has settled as to all parties. Thus, the Court
21   ORDERS:
22            1.     No later than May 23, 2016, counsel for the minors M.L.S., C.J.S., C.R.S. E.Z.S. and
23   J.S. SHALL file their petitions for approval of the minors’ compromise;
24            2.     All other pending dates, conferences and hearings are VACATED and any other
25   pending motions are ordered TERMINATED.
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       Case 1:13-cv-01051-LJO-JLT Document 237 Filed 05/05/16 Page 2 of 2


 1          Failure to comply with this order may result in the imposition of sanctions, including the
 2   dismissal of the action or striking the answers and entering default.

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 4   IT IS SO ORDERED.

 5      Dated:    May 5, 2016                              /s/ Jennifer L. Thurston
 6                                                  UNITED STATES MAGISTRATE JUDGE

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